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October 18, 2024


VIA CM/ECF
Hon. Indira Talwani
United States District Judge
United States District Court for the District of Massachusetts
John Joseph Moakley United States Courthouse
1 Courthouse Way
Boston, MA 02210


Re:     Servicios Funerarios GG, S.A. De C.V., v. Advent International Corporation,
        Case No.: 23-cv-10684, Proposed Schedule

Dear Judge Talwani:
        We write on behalf of Plaintiff and Counterclaim-Defendant Servicios Funerarios GG, S.A.
De C.V. (“SF”) in advance of this morning’s case management conference. The parties have met
and conferred, and as a result, have narrowed the issues before the Court this morning. However,
the parties continue to disagree about the appropriate intervals between events. Further, after our
meet-and-confer yesterday, the Defendant filed a motion to yet again extend the protective order
preventing the depositions of two key witnesses until December 31. While Plaintiffs will
strenuously object to this motion, the motion shows why the SF believes the Court should not
allow further delay of this action. It is for this reason, among the other delay tactics put forth by
Defendants, that Plaintiffs request a firm trial date be set at today’s hearing.

        For the Court’s convenience, SF’s proposed schedule is below:

                                                  Current              SF Proposal
          1st 5 Depos                              9/24                    1/17
          Close of Fact Discovery                  10/29                   1/31
          P/CP Expert Reports                      11/18                   2/14
          Identify D/CD Experts                                            2/21
          D/CD Expert Reports                      12/2                    2/28
          Dispositive Motions                      12/6                    3/7
          Expert Depos                             1/31                    3/21
          Daubert Motions                          2/28                    4/4
          Opp to Daubert                           3/28                    4/18
          Trial Date*                                                      5/2
*On or about this date, subject to the parties’ and the Court’s availability.
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                                           Very truly yours,
                                           /s/ Carlos M. Sires

                                           Carlos M. Sires
